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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 EVA MITCHELL,                                  §
                                                §
                   Plaintiff,                   §
                                                §
        v.                                      §         Case No. 22-CV-00195-ADA
                                                §
 BAYLOR UNIVERSITY.                             §
                                                §
                   Defendant.                   §
                                                §
                                                §

    NOTICE OF AGREED EXTENSION OF TIME TO FILE ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant BAYLOR UNIVERSITY (“Defendant”) in the above-styled and numbered cause,

hereby notifies the Court that the parties have agreed to extend Defendant’s deadline to file an

Original Answer to Plaintiff’s Complaint by two weeks, so that Defendant’s deadline to file an

Original Answer is 5:00pm on September 6, 2022.




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                                            Respectfully submitted,

                                            WATSON, CARAWAY,
                                            MIDKIFF & LUNINGHAM, LLP

                                              /s/ David Luningham
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                                            ATTORNEYS FOR DEFENDANT
                                            BAYLOR UNIVERSITY



                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies on this 16th day of August, 2022, that a true and correct
copy of the foregoing document was served via e-filing on all parties in accordance with the
Federal Rules of Civil Procedure.


                                              /s/ David Luningham
                                            David Luningham




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